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                 EXHIBIT C
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DEPARTMENT OF HEALTH & HUMAN SERVICES
Centers for Medicare & Medicaid Services
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Baltimore,   Maryland   21244-1850
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 Iuly 12,2019

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         Re      Document Access Request - united states v. Elizabeth Holmes and Ramesh
                 Balwani, 1 8-CR-00258 EJD

Dear Messrs. Bostic, Coopersmith, and Downey:

This letter responds to the Court's June 28, 2019 order in the above-captioned action instructing
the Centers f'or Medicare & Medicaid Services (CMS) to provide the parties with specific
information regarding the documents the agency agrees to produce or objects to producing in
response to the document requests made by the Government on behalf of Defendants.

In my previous letter to Mr. Bostic dated June 10, 2019, CMS agreed to provide documents in the
agency's possession between September 1,2013 and December 3 I ,20161 that are responsive to the
six categories of documents requested and that are not protected by the attorney-client or work
product privileges. The fbllowing is a summary of the steps CMS has taken to identify, collect,
and review responsive documents.

CMS understands that the parties are currently negotiating a proposed Supplemental Protective
Order that will govern CMS documents produced in this case and that Mr. Bostic is working to
obtain a waiver from Theranos's assignee permitting CMS to disclose Theranos's trade secret and
confidential commercial information to the parties in response to this document request. Once the
Court enters the Supplemental Protective Order and the waiver is obtained, CMS will promptly


I Mr. Balwani's counsel previously agreed to narrow
                                                      the time period relevant to Mr. Balwani's subpoena to CMS in
,sF.'c v Ralwani. case No. | 8-cv-0 1602-F.lD to Senfemher 1 . ?.o11 and l)ecemher 7l . ?.o16.
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provide Mr. Bostic with 5,014 pages that fall within the following categories of extemal
communications responsive to the document request as follows.

    o   communications between the cMS offrce of communications and the media about
        Theranos, including communications between the agency and Johl caneyrou or the wall
        Street Joumal. The CMS Office of Communications coordinates requests for information
        from members of the media and provides responses on behalf of the agency. These
        documents are responsive to Document Request No. 1.

    o   Communications between CMS (the Clinical Lab group and CCSe Management) and
        Theranos. The CMS Division of Clinical Laboratory Management and euality
                                                                                      ithe
        clinical Lab group) is responsible for clinical Laboratory Improvement Amendment
        (GLIA) programs. Two cMS employees from this group performed the 2015 cLIA survey
        of rheranos. The clinical Lab group is part of the cMS center for clinical standards and
        Quality (CCSQ) and some members of CCSQ management were involved with the
        Theranos matter after the 2015 survey was performed. These documents are responsive to
        Document Request No. 2.

    o   Communications between the Clinical Lab group and the American Association of Clinical
        chemistry (AACC). These documents are responsive to Document Request No. 3. The
        CMS Clinical Lab group does not generally communicate with third panies about the CLIA
        compliance of particular laboratories. The agency conducted a limited search for
        communications between the cMS clinical Lab group and Labcorp, euest Diagnostics, or
        the AACC to confirm this practice. The search produced a few emails to or from AACC
        that are all form marketing emails or emails about attending the AACC Annual Scientific
        Meeting. These ¡esults confirm that CMS did not communicate with third parties about
        Theranos's lab compliance with CLIA and, therefore, the agency would noi have additional
        documents responsive to Document Request No. 3.

   ¡    Documents from the Califomia Department of Public Health's California Laboratory Field
        Services (CDPH) related to the federal 2013 Theranos CLIA Survey. These documents are
        responsive to Document Request No. 6. CDPH conducted a search and no email
        communications with CMS regarding the routine 2013 CLIA survey of Theranos exist. S¿e
        Attachment A, Declaration of Donna McCallum, July 1 l, 2019.

Internal communications were redacted from the categories ofdocuments listed above because they
were originally reviewed for production in response to a subpoena in sEC v. Balwani, case No. lg-
cv-01602-EJD. CMS has produced these redacted documents to Mr. Balwani in the civil matter.
Subsequent productions will include revised versions of materials where internal communications
were previously redacted, but redactions made to protect information covered by the attomey-client
or work product privileges will remain. CMS does not intend to withhold information that may be
protected by the deliberative process privilege.

cMS also produced communications between the clinical Lab group and the u.S. Food and Drug
Administration (FDA) about Theranos to Mr. Balwani in sEC v. Balwani, case No. 1g-cv-01602-
EJD. Once the Court enters the Supplemental Protective Order and the Theralos assignee provides
a waiver, cMS will promptly produce those documents to Mr. Bostic. cMS also identified and
reviewed additional CMS communications with the FDA about Thera¡os and is processing those
communications for production. The estimated production date is the week of JuIy 15,2019.
These documents are responsive to Document Request No. 4.
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CMS has made significant effo¡ts to identify, collect, review, and produce non-privileged internal
email responsive to Document Request Nos. r,2,4, and 6. These efforts a¡e                  io d"tuil
below. Although cMS cannot control the amount of time it will take to load "*plain"ã
                                                                                daia into the
Relativity review database, process the data so it is ready for review, or process the data for
production, the agency has used its best efforts to provide an estimated time line. The time line
assumes that a Supplemental Protective Order is entered by the Court and the Theranos assignee
grants a waiver to allow CMS production of these documents.

    a   Internal email from employees in the cMS office of communications who dealt with
        media contacts about Theranos have already been collected and loaded into the review
        database. cMS is cunently conducting a review for documents protected by the attorney-
        client and work product privileges. cMS estimates that these documents will be producêd
        to Mr. Bostic by August 16,2019. These documents are responsive to Documeni Request
        No. 1.

        some internal email from employees in the clinical Lab group and ccse Management
        have already been collected and loaded into the review database. CMS is cunenily
        conducting a review for documents protected by the attomey-client and work product
        privileges. cMS estimates that these documents will be produced to Mr. Bostlc by August
        16,2019. These documents could be responsive to Document Request Nos . 1,2,4, and 6.

        In addition to the email previously collected, cMS has also starled the process of collecting
        and identifring email from the Clinical Lab group, CCSe Management, and FOIA
        persormel to provide a complete set of intemal communications about Theranos between
        September 1,2013 and December 31,2016. CMS IT has almost completed collecting
        documents from these custodians and will work to identify the potentially responsive set of
        documents. The responsive set of documents will then need to be exported and shipped to
        the Relativity database staff rhe cMS request to upload the data is then put into a queue
        and cMS has no control over how quickly the data is loaded. The average load timJhas
        recently been thirteen work days. once the data is loaded, further processihg is needed to
        get to the documents that cMS will need to ¡eview. The average time for data analysis and
        processing has recently been eight work days. CMS will not know the quantity of
        documents until this work is complete. cMS estimates that this data will be identified and
        loaded into the review database by August 23, 2016. once the data is loaded, cMS will be
        better able to estimate how long it will take to review the documents for information
        protected by the attorney-client and work product privileges and produce them. CMS is
        exploring methods to potentially decrease the time it will take to p¡oduce these documents.
        cMS will provide a status update to the parties promptly after cMS knows the quantity of
        documents to review. These documents could be responsive to Document Request Nos. 1,
        2,4 and6.

cMS does not have documents responsive to Request No. 5. while cMS interacts with and
supports law enforcement, the agency does not serve a criminal law enforcement function and,
therefore, it does not create or retain Reports of Investigation (RoIs) memorializing govemment
communications with witnesses.
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cMS is committed to working with you to produce documents responsive to your requests as
detailed above. Please contact cMS counsel Lindsay Turner to discuss this matter further.




                                   Karen W
                                   Director
                                   Division of         Laboratory Improvement and Quality
                                   Centers for Medicare & Medicaid Services
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